                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION
                                   No. 5:22-CV-384-D


DANIEL TAYLOR JOHNSON,                           )
                                                 )
                                    Plaintiff,   )
                                                 )
                        v.                       )                 ORDER
                                  )
NORTH CAROLINA STATE UNIVERSITY, )
                                  )
                       Defendant. )


        On September 23, 2022, North Carolina State University removed this action from Wake

County Superior Court [D.E. 1]. On September 26, 2022, the Clerk of Court served a notice to pro

se plaintiff, Daniel Taylor Johnson ("Johnson" or plaintiff'') and counsel of record regarding

compliance with Local Civil Rules 5.3, 7.1, and 7.3 and Federal Rule of Civil Procedure 7.1 [D.E.

5]. On September 30, 2022, defendant filed a motion to dismiss [D.E. 9] and a memorandum in

support [D.E. 10]. On September 30, 2022, the Clerk of Court sent a notice to Johnson regarding the

motion to dismiss and told him the deadline for his response [D.E. 11]. See Roseboro v. Garrison,

528 F.2d 309,310 (4th Cir. 1975) (per curiam). On October 6, 2022, Johnson filed a notice of self

representation [D.E. 12] and a financial disclosure statement [D.E. 13]. On October 6, 2022, the

clerk's September 26, 2022 notice was returned as undeliverable mail [D.E. 14]. On October 25,

2022, the clerk sent a second notice to Johnson regarding his right to file a response to motion to

dismiss [D.E. 15]. On October 26, 2022, the clerk's September 30, 2022 notice was returned as

undeliverable mail [D.E. 16].      On August 2, 2023 the court WARNED Johnson about the

consequences of failing to file a response to the motion to dismiss and the response deadline and told




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Johnson that if he failed to file a response to the motion to dismiss by August 25, 2023, the court

would dismiss his case. See [D.E. 18]. Johnson did not respond.

        In sum, the court DISMISSES WITHOUTPREJUDICE this action for failure to prosecute.

The court DISMISSES AS MOOT defendant's motion to dismiss [D.E. 9]. The clerk shall close the

case.

        SO ORDERED. This .:J_ day of September, 2023.



                                                        JSC.DEVERID
                                                        United States District Judge




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